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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

FLORIDA DECIDES HEALTHCARE,
INC., et al.,

       Plaintiffs/Intervenor-Plaintiffs,
v.                                                   Case No.: 4:25cv211-MW/MAF

CORD BYRD, et al.,

       Defendants/Intervenor-Defendant.

___________________________/

           ORDER ON MOTIONS FOR PRELIMINARY INJUNCTION1

       This case involves a challenge to several recently enacted amendments to

Florida’s laws governing citizen ballot initiatives. Plaintiffs include several

sponsors 2 and supporters 3 of citizen initiatives who work for active petition-

gathering campaigns seeking to place proposed constitutional amendments on the

ballot for next year’s general election in Florida. This Court previously ruled on an



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         This Court conducted a hearing on an expedited basis on June 30, 2025. The challenged
provisions went into effect on July 1, 2025. Accordingly, recognizing that time is of the essence,
this Court is issuing a truncated Order on the pending motions.
       2
         Namely, Smart & Safe Florida (Smart & Safe), Florida Decides Healthcare, Inc. (FDH),
and FloridaRighttoCleanWater.org a/ka/ Florida Right to Clean Water.
       3
          Including the League of Women Voters of Florida and the League of Women Voters of
Florida Education Fund, Inc., (together, referred to as the League of Women Voters), the League
of United Latin American Citizens (LULAC), Cecile Scoon, and Debra Chandler—collectively
referred to as the League Plaintiffs, along with Melissa Martin, Poder Latinx, Yivian Lopez Garcia,
and Humberto Orjuela Prieto.
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earlier round of motions for preliminary injunction that targeted provisions that went

into effect immediately in May 2025. ECF No. 189. Now Plaintiffs move to

preliminarily enjoin Defendants’ enforcement of additional provisions that take

effect on July 1, 2025—namely, new eligibility requirements for petition circulators,

including a state residency and citizenship requirement, a registration requirement

for unpaid petition circulators who gather more than 25 signed petitions, affidavit

and disclosure requirements for petition circulators, and a three-month moratorium

on signature verification. ECF Nos. 165, 169, 173, 175. 4

       For the reasons set out below, this Court grants their motions for preliminary

injunction in part and denies the motions in part.

                                               I

       Under Rule 65 of the Federal Rules of Civil Procedure, a district court may

grant a preliminary injunction “only if the moving party shows that: (1) it has a

substantial likelihood of success on the merits; (2) irreparable injury will be suffered

unless the injunction issues; (3) the threatened injury to the movant outweighs

whatever damage the proposed injunction may cause the opposing party; and (4) if

issued, the injunction would not be adverse to the public interest.” Siegel v. LePore,




       4
         Plaintiffs Poder Latinx, Humberto Orjuela Prieto, and Yivian Lopez Garcia filed a notice
of joinder with respect to the League Plaintiffs’ and the Right to Clean Water’s motions for
preliminary injunction, along with additional evidence to support their standing for preliminary
injunctive relief. ECF No. 214.
                                               2
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234 F.3d 1163, 1176 (11th Cir. 2000) (en banc) (per curiam). The movant must

clearly carry the burden of persuasion as to these four prerequisites. United States v.

Jefferson Cnty., 720 F.2d 1511, 1519 (11th Cir. 1983).

       This Court first begins with whether Plaintiffs have shown a substantial

likelihood of success on the merits because, typically, if a plaintiff cannot “establish

a likelihood of success on the merits,” this Court “need not consider the remaining

conditions prerequisite to injunctive relief.” Johnson & Johnson Vision Care, Inc. v.

1-800 Contacts, Inc., 299 F.3d 1242, 1247 (11th Cir. 2002). And because standing is

always “an indispensable part of the plaintiff’s case,” this Court begins its merits

analysis with standing. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). 5

                                                 A

       First, this Court addresses those claims for which no Plaintiffs have

demonstrated standing for purposes of a preliminary injunction.

       To start, Plaintiff FDH asks this Court to preliminarily enjoin a one-time 90-

day pause on signature verification by the Supervisors of Elections as violative of

its First Amendment rights to free speech and association. See ECF No. 169-1 at 26.

FDH does not contend that this moratorium is chilling FDH’s speech or directly




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          As noted on the record at the hearing, although Defendants only challenge some of
Plaintiffs’ standing to seek preliminary injunctive relief as to a subset of their claims, this Court
has an independent obligation to determine whether Plaintiffs have standing for each of their
claims at this juncture.
                                                 3
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preventing FDH from fundraising in support of its initiative, hiring petition

circulators, or using volunteers to continue to gather signed petitions for the duration

of the moratorium. Nor does FDH contend the moratorium has a coercive or

determinative effect on the actions of third parties. See Bennett v. Spear, 520 U.S.

154, 169 (1997).

      Instead, FDH asserts this pause in signature verification injures FDH by

delaying updated verified petition counts. According to FDH, this delay in updated

verified petition counts, in turn, will hamstring FDH’s ability to generate enthusiasm

and support, persuade donors to commit funds to FDH’s cause, and ultimately,

succeed in placing its initiative on the ballot next year due to the anticipated impact

that this delay will have on the expectations and reactions of third parties not before

this Court. See id. at 11. But this asserted injury is largely conjectural and flows not

directly from the moratorium itself, but from its anticipated downstream effects,

which almost entirely depend on the proclivities and independent actions of third

parties. Simply put, FDH fails to carry its burden of persuasion that it has suffered a

concrete and particularized speech or associational injury that is traceable to the

Secretary and the Supervisors of Elections and redressable by an injunction

prohibiting their enforcement of the moratorium. FDH’s motion, ECF No. 169, is

DENIED in part with respect to its request to enjoin the moratorium based on




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FDH’s failure to demonstrate a substantial likelihood of success of having standing

to challenge this provision.

      Next, this Court considers Plaintiffs’ challenge to the affidavit requirement for

petition circulators. Plaintiffs, including the League Plaintiffs, Florida Right to Clean

Water, and Melissa Martin, challenge a new affidavit requirement for unpaid petition

circulators, which requires such petition circulators to include their names and

permanent addresses on initiative petitions and to affirm that the petition was

completed and signed by the voter in their presence, that they have read the Petition

Circulator’s Affidavit, that the facts stated in it are true, and that, if they were paid

to circulate the petition, the payment was not on a per signature basis. See §

100.371(3)(d), Fla. Stat. (2025); see also ECF No. 173 at 3; ECF No. 175 at 4.

Plaintiffs contend that they, their members, and volunteers that would otherwise

gather petitions on their behalf are now reasonably chilled from doing so because

the affidavit requirement forces petition circulators to identify themselves and their

support of the ballot initiative for which they are gathering petitions, but they do not

want to disclose their personal information for fear of potential harassment by

members of the public. Here, again, Plaintiffs’ asserted injury—chilled speech and

the impact this has on the pertinent citizen initiative campaigns and the organizations

that desire to support such initiatives—is tied to the possible downstream effects of

the challenged provision—i.e., disclosure of petition circulators’ identities in

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connection with a particular ballot initiative and the risk of harassment from either

the government or members of the public as a result.

       For this chill to amount to a cognizable injury in fact, the fear of harassment

must be an objectively reasonable one.6 See Wilson v. St. Bar of Ga., 132 F.3d 1422,

1428 (11th Cir. 1998) (“A party’s subjective fear that she may be prosecuted for

engaging in expressive activity will not be held to constitute an injury for standing

purposes unless that fear is objectively reasonable.”). But here, to support their

contention that the asserted subjective fears of harassment constitute an injury for

standing purposes, Plaintiffs only point to either generalized fears of potential

harassment from unidentified members of the public or instances of harassment and

political violence that are wholly disconnected from their connection to the protected

expression at issue in this case. See, e.g., ECF No. 260-3 ¶¶ 7, 9 (declaration of Susan

Aertker attesting that she was eager to gather signatures in support of the Medicaid

initiative, but now she will not do so, in part due to the affidavit requirement and her

fears that “someone like [the] shooter” in a recent shooting in Minnesota could target

her for her support of a political cause, based on her understanding that the shooter

in Minnesota “had a list of abortion rights advocates on his target list”); ECF No.



       6
         While Plaintiffs’ counsel argued at the hearing that the reasonable fear requirement for
purposes of determining whether a party has standing based on a chill injury only applies in cases
involving government enforcement and not disclosure of information to the public, Plaintiffs’
counsel also conceded that there is “some rationality limit” when considering asserted fears based
on harassment from the public.
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174-2 ¶¶ 21–23 (declaration of LULAC’s CEO attesting that affidavit requirement

harms LULAC’s citizen members because it puts these members “in a bind” if they

want to engage in petition circulation but also live in a “mixed-status household”

with undocumented family members, as they are now fearful that providing their

information to the State “will invite harassment from state and federal authorities

who will use this information to identify, arrest, and deport their undocumented

family members.”). But such evidence of subjective fears, without more, is

insufficient to demonstrate a concrete and particularized injury in fact with respect

to Plaintiffs’ challenges to the affidavit requirement.7 Accordingly, the Clean Water

Plaintiffs’ motion, ECF No. 173, and the League Plaintiffs’ motion, ECF No. 175,

are both DENIED in part with respect to their requests to enjoin the affidavit

requirement based on these Plaintiffs’ failure to demonstrate a substantial likelihood

of success of demonstrating standing to challenge this provision.




       7
          Plaintiffs’ evidence in support of standing for this claim also naturally overlaps with
supporting their arguments as to the merits of their challenge to the affidavit requirement, which
is focused on petition circulators’ interest in anonymity during and after engaging in petition
circulation. But even if Plaintiffs had demonstrated standing to reach the merits of this claim, this
evidence falls short of demonstrating that Plaintiffs are substantially likely to succeed on their
claim that the affidavit requirement, in general, violates the First Amendment. See John Doe No.
1. v. Reed, 561 U.S. 186, 200–01 (2010) (differentiating between as-applied challenge to disclosure
requirement involving “particularly controversial petitions” as opposed to challenge to disclosure
requirement in general).
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                                           B

                                           1

      Next, this Court considers those claims for which at least one Plaintiff has

demonstrated standing for purposes of a preliminary injunction, starting with

Plaintiffs’ challenge to the new eligibility requirements for all petition circulators—

paid and unpaid. Plaintiffs seek to preliminarily enjoin Defendants’ enforcement of

the new Florida residency and U.S. citizenship requirements for petition circulators,

asserting these requirements fail exacting scrutiny and violate the First Amendment.

      Start with the residency requirement. Plaintiff Smart & Safe, the sponsor of a

recreational marijuana ballot initiative actively engaging in petition circulation to try

to get on the ballot in 2026, has submitted ample, unrebutted evidence demonstrating

how the residency requirement injures it by prohibiting Smart & Safe from

continuing to employ a substantial percentage of Smart & Safe’s workforce of paid

petition circulators. See, e.g., ECF No. 166-5 ¶ 12 (declaration of Smart & Safe’s

paid petition circulator campaign manager attesting that Smart & Safe has told about

36% of its paid workforce not to collect petitions anymore for fear of incurring a

$50,000 fine per non-resident circulator collecting petitions); id. ¶ 16 (noting that

Smart & Safe is now collecting about a one-third of the 78,000 petition signatures

per week that it collected prior to the enactment of challenged provisions). Likewise,

Plaintiff Melissa Martin, herself a non-resident, is now prohibited from collecting

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signed petitions in support of the clean water initiative for which she volunteers as

campaign coordinator. See ECF No. 171-1 ¶¶ 2, 50. The same is true for Plaintiff

Jordan Simmons, a Missouri resident who was hired to serve as FDH’s Project

Director in Tampa and whose duties include canvassing for signed petitions. ECF

No. 14-3 ¶¶ 2, 5–6.

      Plaintiffs have also demonstrated similar injuries with respect to the

citizenship requirement. Individual Plaintiffs Yivian Lopez Garcia and Humberto

Orjuela Prieto are both non-citizen lawful permanent residents who live in Florida,

have previously worked as petition circulators or canvassers and would be working

as paid petition circulators in support of the Medicaid ballot initiative now if not for

the citizenship requirement. See ECF No. 214-1 ¶¶ 2–3, 5, 7–9, 11, 13–14; ECF No.

214-2 ¶¶ 3–4, 6, 8, 11–15.

      The organizational Plaintiffs have also demonstrated that their missions are

thwarted and their members are prohibited from petition circulation as a result of the

residency and citizenship requirements. For example, Plaintiff Right to Clean Water

has submitted unrebutted declarations of non-resident and non-citizen volunteers

who have previously collected signed petitions for the clean water initiative and

would continue to do so for the remainder of this election cycle but for the residency

and citizenship requirements. See ECF No. 171-1 ¶¶ 2, 50; ECF No. 268-3 ¶¶ 2–3,




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5. 8 The same is true with respect to Plaintiff FDH, who has submitted the declaration

of Plaintiff Simmons, its Project Director in Tampa, a non-resident who can no

longer engage in petition circulation as part of his job duties. ECF No. 14-3 ¶¶ 2, 5–

6. LULAC has also submitted evidence demonstrating that it has a significant

membership and volunteer base of non-citizens, including lawful permanent

residents and individuals who are on work or student visas, who have previously

gathered signed petitions for past initiatives and who would have done so again with

respect to the Medicaid initiative if not for the citizenship requirement. See ECF No.

174-2 ¶¶ 15–20. Cecile Scoon, former co-president of the League of Women Voters,

testified at the hearing that the League has non-citizen members who had planned to

gather petition signatures this summer with respect to either the clean water or

Medicaid ballot initiatives, but because of the citizenship requirement, they can no

longer do so. Tr. at 85–86.9 And Plaintiff Poder Latinx has also demonstrated


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         Moreover, as sponsor of the clean water initiative, Plaintiff Right to Clean Water risks a
$50,000 fine for each signed petition that is submitted by a non-resident or non-citizen petition
circulator. § 100.371(4)(g), Fla. Stat.
       9
          Although Ms. Scoon’s testimony was more specific to demonstrate an imminent injury
with respect to the League’s non-citizen members, she was less precise in her testimony concerning
non-resident members and the likelihood that they faced an imminent injury as a result of the
Florida residency requirement. Instead, Ms. Scoon testified that she’s aware of some non-resident
members who supported past ballot initiatives. Tr. at 89. Without going into any specifics, Ms.
Scoon testified that some of these non-resident members would have planned to support ongoing
initiatives if the residency requirement was not in effect. Id. at 90. But given the dearth of evidence
demonstrating an imminent injury in fact for any non-resident League member with respect to the
residency requirement and the fact that the League is not subject to any $50,000 fine because it is
not a sponsor of any ballot initiative, this Court concludes that the League Plaintiffs have not
demonstrated standing to pursue preliminary injunctive relief against Defendants’ enforcement of
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through the unrebutted declaration of its Florida State Director, Carolina Wassmer,

that over 85% of its workforce is non-citizen, including canvassers who knock on

doors, and that it had planned to continue collecting signatures for the Medicaid

ballot initiative this year with the help of mostly non-citizen veteran canvassers. ECF

No. 214-3 ¶¶ 1, 4, 10, 13–14. Now, however, due to the citizenship requirement,

Poder Latinx has suspended its petitioning work.10 Id. ¶ 14.

       “An organization has standing to redress an injury suffered by its members

without showing an injury to the association itself.” South River Watershed Alliance,

Inv.v. Dekalb Cnty, Ga., 69 F.4th 809, 819 (11th Cir. 2023) (citation omitted). To

establish associational standing, an organizational plaintiff must show that “at least

one member faces a realistic danger of suffering an injury,” the interests at stake are

germane to the organization’s purpose, and neither the claims asserted, nor relief

requested requires participation of individual members in the suit. Id. at 819–20.




the residency requirement. See, e.g., LaCroix v. Lee Cnty., Fla., 819 F. App’x 839, 843 (11th Cir.
2020) (holding that plaintiff failed to demonstrate standing for pre-enforcement review given
absence of particular facts demonstrating likelihood of imminent future injury). Accordingly,
Plaintiff League of Women Voters’s motion, ECF No. 175, is DENIED in part with respect to
the League’s challenge to the residency requirement for lack of standing.
       10
           Unlike some cases where an injury is self-inflicted due to some unreasonable, subjective
fear, that is not the case here. The record reflects that almost all of Poder Latinx’s workforce is
made up of non-citizens who are now ineligible to participate in petition circulation. Poder Latinx’s
decision to cease petition circulation is not a self-inflicted injury under these circumstances.

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       Here, each of the organizational Plaintiffs challenging the citizenship and

residency requirements has demonstrated that at least one member 11 faces a realistic

danger of suffering an injury—i.e., each of these organizations have at least one non-

citizen or non-resident member who otherwise would participate in the

organization’s petition circulation efforts but may no longer do so because of the

citizenship or residency requirement.

       Each of these organizations has also demonstrated that their interests in this

litigation are germane to their organizational purposes. Right to Clean Water, FDH,

and Smart & Safe are the sponsors of the clean water, Medicaid, and recreational

marijuana initiatives with the goal of placing their respective initiatives on the ballot

in 2026. The mission of the League of Women Voters includes educating voters on

issue of public import and advocating for policies for the public good and collecting

petitions in support of citizen-led initiatives is a major tool that the League uses to

further its mission. ECF No. 174-1 ¶¶ 6–7. LULAC’s mission is to advance the

economic condition, educational attainment, political influence, housing, health and

civil rights of the Hispanic population in the United States, and as part of that


       11
           To the extent the organizational Plaintiffs do not explicitly refer to their members as such
and instead refer to them as “ambassadors,” “county captains,” “volunteers,” “paid circulators,” or
“board and regional coordinators,” the record demonstrates that these organizations are supported
by numerous individuals possessing the means to influence the priorities and activities of these
organizations, including leading, coordinating, and collecting signed petitions on their behalf,
much like members of a traditional association. See Doe v. Stincer, 175 F.3d 879, 886 (11th Cir.
1999); see also White’s Place, Inc. v. Glover, 222 F.3d 1327, 1330 (2000) (citing Hang On, Inc.
v. City of Arlington, 65 F.3d 1248, 1252 (5th Cir. 1995)).
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mission, LULAC planned to collect petitions to support the Medicaid initiative in

Florida. ECF No. 174-2 ¶¶ 2, 7–9. And Poder Latinx’s mission is to help ensure that

Latinx communities are “decision-makers in our democracy,” with a focus in Florida

on “immigrant justice, climate justice, and economic justice,” achieved, in part, by

collecting signatures for initiative petitions. ECF No. 214-3 ¶¶ 5–7.

      Finally, inasmuch as these organizational Plaintiffs are seeking only

prospective relief and litigation costs, rather than damages, neither the claims

asserted nor the relief requested requires the participation of individual members.

See South River Watershed Alliance, Inc., 69 F.4th at 820.

      Accordingly, for these reasons, Plaintiffs Right to Clean Water, FDH, and

Smart & Safe have demonstrated an injury in fact for associational standing to

challenge the residency requirement. Likewise, Plaintiffs Right to Clean Water,

League of Women Voters, LULAC, and Poder Latinx have demonstrated an injury

in fact for associational standing to challenge the citizenship requirement. And, as

noted above, individual Plaintiffs Melissa Martin and Jordan Simmons have

demonstrated an injury in fact with respect to the residency requirement while

Plaintiffs Yivian Lopez Garcia and Humberto Orjuela Prieto have demonstrated an

injury in fact with respect to the citizenship requirement.

      These Plaintiffs’ injuries are traceable to Defendant Byrd’s, Defendant

Uthmeier’s, the Supervisors of Elections’, and the State Attorneys’ enforcement

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authority under the statute. For instance, the Secretary has authority to refer any

suspected violation of the residency or citizenship requirements committed by any

individual or entity to the Attorney General for further enforcement, including

instituting a civil action for injunctive relief, a restraining order, or any other

appropriate order. § 100.371(11), Fla. Stat. In addition, individuals who wish to

collect more than 25 petitions must register with the Department of State, overseen

by Defendant Byrd, and in doing so, must disclose, under penalty of perjury, whether

they are citizens and Florida residents. §§ 100.371(4)(b) and (c)7.–9., Fla. Stat.

Defendant Byrd, in turn, can fine sponsors for $50,000 per non-resident or non-

citizen petition circulator who is gathering signatures on behalf of the sponsor. §

100.371(4)(g), Fla. Stat. The Supervisors of Elections must invalidate any signed

petition submitted by a non-resident or non-citizen. 12 § 100.371(14)(h), Fla. Stat.

And the State Attorneys, and the Statewide Proseuctor under the direction of the

Attorney General, are empowered to enforce criminal provisions incorporating the


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          Plaintiffs Poder Latinx, Yivian Lopez Garcia and Humberto Orjuela Prieto have not sued
the Supervisors of Elections or sought a preliminary injunction against them. See ECF No. 185 at
1 (complaint suing only Secretary of State and Attorney General). That’s a problem for
redressability, given that an injunction that would effectively permit non-citizens to collect signed
petitions, while still allowing the Supervisors to invalidate those petitions under section
100.371(14)(h) would not provide relief for these Plaintiffs’ speech injuries as the petition
circulation would ultimately be a meaningless exercise if the signed petitions remain subject to
invalidation based on the circulator’s citizenship status. See Jacobson v. Fla. Sec’y of State, 974
F.3d 1236, 1254–55 (11th Cir. 2020); see also Alachua Cnty. Educ. Ass’n v. Rubottom, 2023 WL
4188197, at *4-5 (N.D. Fla. June 26, 2023) (denying preliminary injunctive relief for lack of
standing where plaintiffs did not sue state actors who remained free from any injunction that could
have redressed plaintiffs’ injury). Accordingly, the Poder Latinx Plaintiffs’ request for relief
against the citizenship requirement, ECF No. 214, is due to be DENIED for lack of standing.
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citizenship and residency requirements. See §§ 104.187, 104.188(2), Fla. Stat.

(2025). Given this enforcement scheme, Plaintiffs’ injuries are likely to be redressed

by an injunction prohibiting the Secretary, the Attorney General, the Supervisors of

Elections, and the State Attorneys 13 from enforcing the residency and citizenship

requirements against them. For these reasons, this Court finds, with the exception of

the League of Women Voters’s challenge to the residency requirement and the Poder

Latinx Plaintiffs’ challenge to the citizenship requirement, that these Plaintiffs have

demonstrated a substantial likelihood of establishing standing to challenge the

residency and citizenship requirements for petition circulators. 14

                                                 2

       Next, this Court considers Plaintiffs’ standing to challenge the registration

requirements for volunteer petition circulators. FDH, Right to Clean Water, the

League of Women Voters, and LULAC all challenge the requirement that non-paid

petition circulators register with the Department of State before collecting over 25


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           As explained below, Smart & Safe does not seek an injunction against the State
Attorneys, and thus, the scope of relief is narrower with respect to this Plaintiff. Nonetheless, an
injunction directed at the Secretary of State, Attorney General, and Supervisors of Elections is
likely to provide at least partial redress for Smart & Safe’s asserted speech injuries.
       14
          Inasmuch as the organizations have demonstrated associational standing, this Court does
not address these Plaintiffs’ alternative standing arguments based on a diversion-of-resources
theory. Likewise, this Court recognizes that while Plaintiffs may have established standing to
challenge particular provisions, the character of their evidence in support of standing may narrow
the scope of relief if this Court determines any Plaintiff is entitled to an injunction. Standing and
scope of relief are related, but different, and this Court intends to frame any injunction so that it
does not reach broader than necessary to afford the parties relief to which they may be entitled.

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signed petitions.15 With respect to the League of Women Voters and LULAC, these

Plaintiffs root their standing argument in the asserted chill based on a generalized

fear of harassment that this Court has already found to be unreasonable with respect

to the affidavit requirement. See, e.g., ECF No. 174-1 ¶¶ 36-39; ECF No. 174-2 ¶¶

22-23. Accordingly, for the same reasons this Court finds these Plaintiffs failed to

demonstrate standing with respect to the affidavit requirement, this Court also finds

the League of Women Voters and LULAC have not demonstrated standing for

purposes of seeking a preliminary injunction with respect to the registration

requirement. Their motion, ECF No. 175, is DENIED in part for lack of standing

with respect to the registration requirement. 16

       FDH and Right to Clean Water, on the other hand, have demonstrated that

non-paid petition circulators who would otherwise gather over 25 petitions in


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          This challenge includes the requirement to register with the Secretary of State, the
requirement that petitions gathered in violation of this section can be invalidated and not counted
toward the total number of verified petitions necessary to make it on the ballot in 2026, and
criminal penalties for gathering petitions in violation of the registration requirement. See, e.g.
§§ 100.371(4)(a), 100.371(14)(h), 104.188(2), Fla. Stat.
       16
           Alongside the registration requirements, the League Plaintiffs and LULAC also
challenge the requirement that un-registered individuals use a separate petition form when
gathering fewer than 25 petitions. But these Plaintiffs have failed to demonstrate how this
requirement—rather than the asserted fears concerning the loss of anonymity and general
objections to registration—injures them in any way. This Court will not attempt to fill in the blanks
for Plaintiffs where they have failed to develop their own arguments and evidence concerning
standing. Accordingly, this Court finds the League and LULAC have not demonstrated that they
are substantially likely to have standing to challenge the requirement that un-registered individuals
must use a different form when collecting petition signatures. Their motion, ECF No. 175, is
DENIED in part with respect to the request to preliminarily enjoin Defendants’ enforcement of
§ 100.371(3)(e), Fla. Stat.
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support of their initiatives are chilled from doing so due to the additional burden the

registration requirement imposes before volunteers can continue gathering petitions

and the potential criminal liability that could result if they violate the law’s

requirements. See, e.g., ECF No. 168-1 ¶¶ 20-25; ECF No. 171-7 ¶¶ 14-17. This

asserted injury is sufficiently concrete and particularized. Moreover, the very real

threat of criminal penalties for violating the requirement to pre-register before

gathering more than 25 signed petitions is objectively reasonable. On top of this, the

chill flowing from the registration requirement is substantially likely to impact FDH

and Right to Clean Water’s ability to gather enough signed petitions to be placed on

the 2026 ballot, particularly when both initiative sponsors rely so heavily on the

efforts of volunteer petition circulators.

      FDH and Right to Clean Water’s injuries are traceable to the Secretary, who

is tasked with creating the system of registration for non-paid petition circulators,

see § 100.371(4)(c)6., Fla. Stat., and the Supervisors of Elections and the Secretary,

who may not count a petition submitted by an unregistered volunteer in violation of

the registration requirement towards the sponsor’s verified petition count, see

§ 100.371(14)(h), Fla. Stat. FDH and Right to Clean Water have also demonstrated

that their injuries are traceable to the State Attorneys, who are tasked with enforcing

the criminal provisions prohibiting unregistered petition gathering in violation of the

registration requirement, see § 104.188(2), Fla. Stat. (creating third-degree felony

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for individuals who collect more than 25 petitions without registering as petition

circulators under section 100.371(4)(a)), and the Attorney General, who has

authority to institute civil enforcement proceedings with respect to suspected

violations of the registration requirement, see § 100.371(11), Fla. Stat. In light of

this enforcement scheme, FDH’s and Right to Clean Water’s injuries are likely to be

redressed by an injunction prohibiting the Secretary, the Supervisors of Election, the

State Attorneys, and the Attorney General from enforcing the registration

requirements against them and their volunteer petition circulators. For these reasons,

this Court finds that FDH and Right to Clean Water have demonstrated a substantial

likelihood of establishing standing to challenge the registration requirements.

      Having determined which Plaintiffs have demonstrated standing to seek

preliminary injunctive relief, this Court now turns to the substantive merits of

Plaintiffs’ claims, beginning with their challenges to the residency and citizenship

requirements for petition circulators.

                                           C

                                           1

      Plaintiffs challenge the residency and citizenship requirements as violative of

the First Amendment for placing an unconstitutionally severe burden on core

political speech. According to Plaintiffs, the residency and citizenship requirements

effectively ban all non-residents and all non-citizens, regardless of legal status, from

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engaging in core political speech in the form of petition circulation in Florida, and

the State has failed to demonstrate that such an overbroad restriction on protected

speech is narrowly tailored to the State’s asserted interests in combatting fraud in the

initiative petition process. This Court agrees and concludes that Plaintiffs are

substantially likely to succeed on the merits of their First Amendment claims

challenging the residency and citizenship requirements.

       As this Court recognized in its prior Order on Plaintiffs’ first motion for

preliminary injunction, ECF No. 189 at 18–19, the circulation of petitions amounts

to “core political speech,” as it “involves both the expression of a desire for political

change and a discussion of the merits of the proposed change.” 17 Meyer v. Grant,

486 U.S. 414, 421–22 (1988). Even though “[s]tates allowing ballot initiatives have

considerable leeway to protect the integrity and reliability of the initiative process,”

Buckley v. ACLF, Inc., 525 U.S. 182, 191 (1999) (citing Biddulph v. Mortham, 89

F.3d 1491, 1494, 1500–01 (11th Cir. 1996)), when a restriction “significantly

inhibit[s] communication with voters about proposed political change,” Buckley, 525


       17
             This Court rejects Defendants’ contention that the residency and citizenship
requirements only regulate non-expressive conduct—collecting and delivering signed petitions—
rather than speech. The Supreme Court has held, without qualification, that “[p]etition circulation
. . . is core political speech,” Buckley, 525 U.S. at 186. Petition circulation necessarily involves
collecting a voter’s signature on an issue petition and delivering the signed petition to the
appropriate official so that it may be verified. That’s the whole game—persuade as many voters
as possible to sign petitions and deliver them in time to actually count toward the initiative
sponsor’s goal to get on the ballot. This Court rejects Defendants’ invitation to separate conduct
from speech when the Supreme Court has demanded no such qualification with respect to petition
circulation.
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U.S. at 192, and poses a “severe burden on speech,” id. at 192 n.12, it must be

narrowly tailored to serve a compelling state interest to avoid violating the First

Amendment.

      In Meyer and Buckley, the Supreme Court emphasized the burdens on the

direct one-on-one communication between petition gatherers and voters. See, e.g.,

id. at 199 (noting that challenged name-badge requirement compelled “personal

name identification at the precise moment when the circulator’s interest in

anonymity is greatest”); id. at 194–95 (quoting Meyer and noting that registration

requirement for petition circulators limited “the number of voices who will convey

the initiative proponents’ message and, consequently, cut down the size of the

audience proponents can reach”). In turn, the Eleventh Circuit has identified a

handful of circumstances where Meyer’s call for heightened scrutiny applies to

restrictions on the initiative process—namely, (1) where a state enacts initiative

regulations that are content based or have a disparate impact on certain political

viewpoints; (2) where a state applies facially neutral regulations in a discriminatory

manner; and (3) where a state impermissibly burdens the free exchange of ideas

about the objective of an initiative proposal. Biddulph, 89 F.3d at 1500.

      The residency and citizenship requirements challenged here directly implicate

that third category of circumstances warranting heightened scrutiny. Indeed, all but

one Circuit Court to have addressed analogous restrictions with respect to residency

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requirements have found such a broad restriction on core political speech is subject

to (and frequently fails) heightened scrutiny under Meyer. See, e.g., Pierce v.

Jacobsen, 44 F.4th 853, 862–63 (9th Cir. 2022) (holding that Montana failed to

demonstrate residency requirement for petition circulators was narrowly tailored to

prevent fraud, protect integrity of initiative process, or protect interest in self-

governance); We the People PAC v. Bellows, 40 F.4th 1, 22–23 (1st Cir. 2022)

(affirming preliminary injunction and concluding Maine failed to demonstrate

residency requirement for petition circulators was narrowly tailored to protecting the

integrity of elections or serving State’s “grassroots interests”); Yes on Term Limits,

Inc. v. Savage, 550 F.3d 1023, 1030 (10th Cir. 2008) (holding that Oklahoma failed

to demonstrate its ban on non-resident petition circulators was narrowly tailored to

protect the integrity of the initiative process); but see Initiative & Referendum

Institute v. Jaeger, 241 F.3d 614, 617 (8th Cir. 2001) (concluding that North

Dakota’s residency requirement for petition circulators did not violate First

Amendment). As explained below, this Court agrees with the majority of circuit

courts to have addressed the issue and finds the outlier Eighth Circuit’s reasoning in

Jaeger unpersuasive.

      The record in this case demonstrates what a severe burden both the residency

and citizenship requirements for petition circulation place on Plaintiffs’ and their

members’, employees’, and volunteers’ core political speech. As counsel for Smart

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& Safe argued at the hearing, initiative sponsors are looking for “closers”—folks

who can effectively speak with and persuade as many Florida voters as possible to

sign their initiative petitions. To do that, they rely on effective and efficient

communicators from around the country, including Florida residents who may not

be citizens. See, e.g., ECF No. 166-1 ¶¶ 6–9 (declaration of professional petition

circulator collecting petitions for Smart & Safe describing team of 20 non-resident

petition circulators in Florida with prior experience as petition circulators and high

validity rate); ECF No. 166-5 ¶¶ 13–14, 16 (declaration of manager of Smart &

Safe’s paid petition circulator campaign describing how residency requirement

prevents her from hiring most effective and experienced petition circulators, limits

the pool of potential hires, and significantly reduces the number of signed petitions

gathered each week); ECF No. 220 ¶¶ 5, 7–13, 15–16 (declaration of green-card

holder and longtime resident of Florida who is passionate about Florida’s waters,

has engaged in petition circulation on behalf of Right to Clean Water’s initiative,

and would continue to do so if this citizenship requirement were enjoined). But now,

as a result of the challenged provisions, the non-resident Plaintiffs are directly

prohibited from engaging in core political speech—petition circulation—and the

organizational Plaintiffs have lost entire swaths of potential employees and

volunteers to this State-imposed silence during an active campaign cycle with an

impending deadline to qualify for the 2026 ballot.

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      Given such a severe burden on the free exchange of ideas about the petition

initiatives, Defendants must demonstrate that the residency and citizenship

requirements are narrowly tailored to furthering a compelling government interest.

See Buckley, 525 U.S. at 206 (Thomas, J., concurring) (“When a State’s rule imposes

severe burdens on speech or association, it must be narrowly tailored to serve a

compelling interest . . . .”). Defendants maintain that the residency and citizenship

requirements are necessary to combat fraud in the petition initiative process due to

the difficulty in investigating potential fraud when petition circulators lack ties to

Florida. To be sure, investigating and combatting fraud in the initiative process is

certainly a compelling interest—the question is whether a complete ban on non-

residents and non-citizens, even lawful permanent residents, from engaging in

petition circulation is narrowly tailored to furthering this interest.

      Here, the record demonstrates a dramatic mismatch between the State’s

interest in combatting fraud in the initiative process and limiting the pool of potential

petition circulators to U.S. citizens who are Florida residents. Defendants assert

these eligibility requirements are narrowly tailored because they still permit non-

residents and non-citizens to speak on all manner of topics. According to

Defendants, the challenged provisions only prevents non-residents and non-citizens

from collecting and delivering signed petitions—in other words, this is a regulation

of conduct, not speech. As noted, supra, Defendants’ conduct-not-speech argument

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misses the mark and ignores Supreme Court precedent. Buckley, 525 U.S. at 186 (

“Petition circulation . . . is core political speech . . . .”). Moreover, the Supreme Court

has rejected a similar argument in Meyer. 486 U.S. at 424 (“That appellees remain

free to employ other means to disseminate their ideas does not take their speech

through petition circulators outside the bounds of First Amendment protection . . . .

That [Colorado’s prohibition on paid circulators] leaves open ‘more burdensome’

avenues of communication, does not relieve its burden on First Amendment

expression.”).

       Defendants’ reliance on the single, outlier decision concerning residency

requirements, Jaeger, is also misplaced. In short, the Eighth Circuit’s reasoning in

Jaeger to uphold North Dakota’s residency requirement is non-binding, factually

distinguishable, and unpersuasive. See Bellows, 40 F.4th at 18 (discussing Jaeger

and calling decision into doubt); compare Jaeger, 241 F.3d at 617 (considering

alternative forms of speech left available to nonresidents in upholding non-resident

ban) and Meyer, 486 U.S. at 423 (rejecting argument that burden on speech is

permissible “because other avenues of expression remain open to appellees”). And,

as Plaintiffs’ counsel noted on the record at the hearing, petition initiative

campaigns, by all accounts, have had a much easier time getting on the ballot in

North Dakota as compared to Florida, even though a residency requirement had been

in place in North Dakota for almost 20 years before anyone challenged it. See Jaeger,

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241 F.3d at 615–17 (noting that “[s]ince the Secretary of State began keeping

statistics on the success rate of signature campaigns in 1985, it appears that

approximately 70% of the . . . petitions circulated have qualified to be placed on the

ballot. This high success rate demonstrates that no severe burden has been placed on

those wishing to circulate petitions.”). Here, on the other hand, the record is replete

with evidence demonstrating the extremely challenging effort an initiative sponsor

must undertake to have any chance of success in reaching the ballot in Florida, even

without residency and citizenship requirements severely limiting the pool of

potential petition circulators. In sum, Jaeger does not move the ball.

      Finally, Defendants’ primary evidence to support the need for the citizenship

and residency requirements to combat fraud is a double-edged sword because it

undercuts Defendants’ argument that these restrictions are narrowly tailored.

Defendants rely on multiple reports from the State’s Office of Election Crimes and

Security to demonstrate instances of suspected fraud, active investigations, and

burdens on state investigations when targets are located out of state. The reports

highlight a particular problem—unlawful pay-per-signature schemes—which

Florida’s election crimes office believes to be the primary motivator for the

suspected fraud. See ECF No. 103-2 at 10 (“The pay-per-signature compensation

model incentivizes this type of fraud by encouraging paid signature gatherers to turn

in as many forms as possible.”); ECF No. 103-3 at 10 (“[I]n many of OECS’

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investigations there was some evidence that companies were paying signature

gather[ers] per signature . . . . This type of compensation model incentivizes fraud

by encouraging paid signature gatherers to turn in as many forms as possible.”); ECF

No. 103-4 at 3 (“This illegal scheme is likely driving the petition fraud outlined

above. If a circulator is paid per signature, circulators are incentivized to forge as

many signatures as possible to make a quick and easy buck. OECS has referred a

handful of pay-per-petition cases to law enforcement and prosecutors.”).

      The reports also explain that the difficulty in combatting this fraud

incentivized by pay-per-signature schemes has to do with “a lack of recordkeeping

and cooperation” on behalf of initiative sponsors and their contractors and

subcontractors. Id.; see also ECF No. 103-2 at 8 (“Florida law does not require

sponsors’ contractors and subcontractors to comply with demands for accounting

made by the Department of State, and PCI Consultants appears to have been less

than helpful to Florida law enforcement agencies, even when faced with a subpoena.

The State’s ability to execute the subpoena has been hampered by the fact that PCI

Consultants is not a registered business entity in Florida.”).

      Ultimately, Defendants’ own evidence demonstrates that the complete ban on

all non-residents and non-citizens, paid and unpaid, is not narrowly tailored to

furthering the State’s interest in combatting fraud in the initiative petition process.

For starters, the reports do not indicate that any non-citizens are engaging in fraud

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while gathering signed petitions. See ECF No. 267-2 ¶ 17 (“I am unaware of any

investigations involving non-citizen petition circulators[.]”). Instead, Defendants

can only point to evidence that some non-citizens have allegedly voted illegally,

ECF No. 103-2 at 26, four non-citizens have had issues in the voter registration

context while working for third-party voter registration organizations, ECF No. 246

at 8, and one non-citizen illegally signed two initiative petitions, ECF No. 267-2 ¶

17. Based on these isolated instances of non-citizens allegedly behaving badly in

other contexts within the universe of election regulations, Defendants urge this Court

to assume there must also be a problem with non-citizen fraudsters who engage in

petition circulation. But mere assumptions are no substitute for actual evidence

demonstrating that it is necessary to burden Plaintiffs’ ability to communicate their

messages to meet the State’s concerns. See Meyer, 486 U.S. at 426. Likewise, for

non-residents, Defendants fail to justify a complete ban where Defendants’ own

evidence indicates narrower solutions. See, e.g., ECF No. 103-4 at 3 (suggesting

“[r]eforms strengthening corporate registration requirements and accounting

mechanism (and enforcement of the same) would facilitate the accountability called

for by current law”); ECF No. 267-2 at 8–9 (suggesting state law enforcement agents

could also comply with state law regarding issuing subpoenas to out-of-state

nonparties to assist in investigations); ECF No. 103-4 at 3 (suggesting pay-per-

signature schemes are driving petition fraud).

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       This Court recognizes that the State has great leeway in regulating the

initiative petition process. And this makes sense—if the State is going to allow for

constitutional amendments by citizen initiatives, there needs to be rules. But here,

the State has categorically barred entire classes of people from participating in the

core political speech that is central to this process. Moreover, the State has failed to

demonstrate that this severe burden on speech is narrowly tailored to furthering its

compelling interest in investigating and combatting fraud in the petition initiative

process. Accordingly, for the reasons set out above, this Court concludes that

Florida’s provisions prohibiting any non-residents and non-citizens, paid or unpaid,

from circulating petitions for citizen initiatives in Florida impose a severe burden on

political expression that the State has failed to justify, and thus Plaintiffs are

substantially likely to succeed on their claims that these provisions violate the First

Amendment.18

                                                 2

       Next, this Court considers Plaintiffs’ challenges to the requirement that unpaid

petition circulators register with the Secretary of State before collecting more than

25 signed petitions. Plaintiffs challenge the registration provisions under a few




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          Having concluded that Plaintiffs are substantially likely to succeed on the merits of their
First Amendment claims, this Court need not address the alternative theories challenging the
constitutionality of these provisions, such as whether the citizenship requirement also violates the
Equal Protection Clause of the Fourteenth Amendment.
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overlapping theories, none of which persuade this Court, at this juncture, that they

are substantially likely to succeed on the merits.

      First, Plaintiffs argue the registration requirements violate the First

Amendment by imposing a severe burden on volunteers’ ability to engage in

anonymous speech. See ECF No. 169-1 at 20–21 (discussing Watchtower Bible &

Tract Society of New York, Inc. v. Village of Stratton, 536 U.S. 150, 154 (2002));

ECF No. 173-1 at 31. But given the Supreme Court’s recognition that anonymity

interests may justifiably give way to “the special state interest in protecting the

integrity of a ballot-initiative process,” Watchtower Bible, 536 U.S. at 167, this

Court is not persuaded that Plaintiffs are substantially likely to succeed on the merits

of their theory that the registration requirements unconstitutionally burden Plaintiffs’

speech in this way. See also John Doe No. 1 v. Reed, 561 U.S. 186 (2010) (rejecting

broad-based challenge to compelled disclosure of signatory information on

referendum petitions).

      Next, Plaintiffs contend that the registration requirement imposes such a

severe burden on petition circulation by creating additional hurdles before volunteers

may collect more than 25 signed petitions, that it is subject to, and fails, exacting

scrutiny under Meyer and Buckley. This argument depends, in part, on characterizing

the registration requirement as a prior restraint on protected speech and equating the

process of registration to other classic examples of prior restraints. However, this

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Court is not persuaded that Plaintiffs are substantially likely to succeed on their

novel application of prior restraint cases to the facts of this case. Nor is this Court

persuaded that the additional effort volunteers must put in to continue gathering

signed petitions after exceeding the 25-petition threshold poses such a severe burden

on speech that the provision is subject to exacting scrutiny. The tenor of Plaintiffs’

evidence concerning these additional efforts, both in the declarations and in the

testimony at the hearing on the motions, suggested any burden on volunteers with

respect to petition circulation is a step too far. Not so. See Buckley, 525 U.S. at 191.

In short, Plaintiffs have not demonstrated, at this juncture, that the registration

requirements pose an impermissibly severe burden on speech.

      Finally, Plaintiff Right to Clean Water also claims the registration requirement

is void for vagueness in violation of the Fourteenth Amendment. However, this

Court is persuaded that Defendants’ proffered construction is the only reasonable

and readily apparent reading of the statute—i.e., that the 25-petition threshold

applies per initiative, per election cycle. See ECF No. 246 at 26–28. In other words,

this Court is not persuaded that Right to Clean Water is substantially likely to

succeed on the merits of its vagueness claim.

      For these reasons, Plaintiffs motions, ECF Nos. 169 and 173, are DENIED in

part with respect to their challenges to the registration requirements for failure to

demonstrate a substantial likelihood of success on the merits.

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                                          II

      Having determined that Plaintiffs are substantially likely to succeed on the

merits of their First Amendment challenges to the residency and citizenship

requirements, this Court considers the remaining factors for preliminary injunctive

relief. First, this Court agrees that Plaintiffs face irreparable injury because the

residency and citizenship requirements effectively silence them and their members

and employees who are now ineligible to engage in petition circulation. The

provisions force Plaintiffs to choose between curtailing their First Amendment rights

to engage in core political speech via petition circulation or risk invalidation of

verified petitions, crippling civil penalties, and further enforcement actions. “The

loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

(1976) (plurality opinion); accord Honeyfund.com v. Governor of Fla., 94 F.4th

1272, 1283 (11th Cir. 2024).

      The balance of the equities and the public interest also favor preliminary

relief. The irreparable injuries Plaintiffs face are “not outweighed by any threatened

harm to Florida because the government has no legitimate interest in enforcing an

unconstitutional law,” and “an injunction is not contrary to the public interest

because it is in the public interest to protect First Amendment rights.”

Honeyfund.com, 94 F.4th at 1283 (internal quotation marks omitted). Defendants’

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argument that preliminary relief will hamstring the State from stopping petition

fraud, forgery, and bad actors is unpersuasive. Even if the Defendants are enjoined

from enforcing the prohibition on non-residents and non-citizens from engaging in

petition circulation, Florida’s law enforcement agencies maintain an arsenal of

criminal provisions that remain enforceable against bad actors and fraudsters. See,

e.g., §§ 104.185, 104.186, 104.187, 942.01–06, Fla. Stat. Accordingly, Plaintiffs

have carried their burden on all four prerequisites to preliminary relief.

                                           III

      This Court next considers whether Plaintiffs must secure a bond in furtherance

of the preliminary injunction. Rule 65(c) provides that a “court may issue a

preliminary injunction . . . only if the movant gives security in an amount that the

court considers proper to pay the costs and damages sustained by any party found to

have been wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c). But “it is well-

established that ‘the amount of security required by the rule is a matter within the

discretion of the trial court . . . [, and] the court may elect to require no security at

all.’” BellSouth Telecomms. v. MCImetro Access Transmission Servs., 425 F.3d 964,

971 (11th Cir. 2005) (alteration in original) (quoting City of Atlanta v. Metro. Atlanta

Rapid Transit Auth., 636 F.2d 1084, 1094 (5th Cir. Unit B 1981)). Moreover,

“[w]aiving the bond requirement is particularly appropriate where a plaintiff alleges

the infringement of a fundamental constitutional right.” Complete Angler, LLC v.

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City of Clearwater, 607 F. Supp. 2d 1326, 1335 (M.D. Fla. 2009). Here, considering

that the challenged law’s unlawful impact on Plaintiffs’ First Amendment rights

weighs against requiring a bond, this Court waives the bond requirement.

                                          IV

      Having determined a preliminary injunction is warranted, this Court addresses

whether it will stay that injunction pending appeal. Stays pending appeal are

governed by a four-part test: “(1) whether the stay applicant has made a strong

showing that he is likely to succeed on the merits; (2) whether the applicant will be

irreparably injured absent a stay; (3) whether issuance of the stay will substantially

injure the other parties interested in the proceeding; and (4) where the public interest

lies.” Hilton v. Braunskill, 481 U.S. 770, 776 (1987); see also Venus Lines Agency v.

CVG Industria Venezolana De Aluminio, C.A., 210 F.3d 1309, 1313 (11th Cir. 2000)

(applying the same test). Because this test is so similar to the four-part test for

establishing entitlement to preliminary injunctive relief, courts rarely stay a

preliminary injunction pending appeal. So too here. Because no exceptional

circumstances justify staying this Order pending appeal, this Court shall not do so.

Contrast with Brenner v. Scott, 999 F. Supp. 2d 1278, 1292 (N.D. Fla. 2014) (issuing

a rare stay of a preliminary injunction given the public interest in stable marriage

laws across the country). Defendants have every right to appeal, and this Court sees




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no reason to delay Defendants in seeking an appeal by requiring them to move to

stay under Rule 62.

                                                V

       Finally, this Court considers the scope of the preliminary injunction to which

Plaintiffs are entitled. The Supreme Court recently held that district courts lack

authority to universally enjoin the enforcement of an executive or legislative policy.

See Trump v. CASA, Inc., 606 U.S. ---, 2025 WL 1773631, at *6 (2025). In other

words, this Court cannot enjoin Defendants’ enforcement of the residency and

citizenship requirements against anyone, anywhere. Instead, the scope of relief

afforded herein is limited to as-applied relief to the parties now before this Court

with standing to seek preliminary injunctive relief.

       The challenged provisions work an unconstitutional restriction as applied to

Plaintiffs’ speech by prohibiting non-citizen and non-residents from gathering signed

petitions on behalf of FDH, Smart & Safe, and Right to Clean Water, 19 by silencing

the individual non-resident petition circulators 20 who are Plaintiffs in this case, and

by preventing the organizational Plaintiffs’ members who are non-residents or non-


       19
          Again, this Court recognizes that, among the initiative sponsors who are Plaintiffs, only
Right to Clean Water challenges the citizenship requirement.
       20
           As noted supra, because Poder Latinx and the individual non-citizen Plaintiffs did not
also sue to enjoin the Supervisors of Elections from invalidating petitions submitted by non-
citizens, they lack standing to challenge the citizenship requirement for purposes of a preliminary
injunction. These Plaintiffs included the only individual Plaintiffs in this case who are not U.S.
citizens.
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citizens from engaging in the core political speech of petition circulation. This State-

imposed silence is enforced through the Secretary’s pre-screening of petition

circulators’ residency and citizenship status as applied to individuals who circulate

more than 25 petitions on behalf of FDH, Smart & Safe, and Right to Clean Water,

§§ 100.371(4)(b), (4)(c)7.–8., Fla. Stat., the invalidation of petitions submitted by

non-residents and non-citizens on behalf of FDH, Smart & Safe, and Right to Clean

Water, id. § 100.371(14)(h), the Secretary’s imposition of $50,000 fines for each

non-resident that FDH, Smart & Safe, and Right to Clean Water knowingly allow to

collect petitions on their behalf and each non-citizen that Right to Clean Water

knowingly allows to collect petitions on its behalf, id. § 100.371(4)(g), the threat

that the Secretary may refer suspected violations to the Attorney General for further

enforcement action, id. § 100.371(11), and the Attorney General’s and State

Attorneys’ authority to enforce criminal prohibitions with respect to violating the

registration requirements as applied to non-resident and non-citizen petition

circulators who collect petitions on the Plaintiff sponsors’ belahf, §§ 104.187 and

104.188(2), Fla. Stat.

      Accordingly, to afford complete relief to the parties with standing to sue in

this case, the Secretary and the Attorney General are enjoined from enforcing the

prohibition on non-residents from gathering signed petitions on behalf of FDH,

Smart & Safe, and Right to Clean Water’s ballot initiatives and from enforcing the

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prohibition on non-citizens from gathering signed petitions on behalf of Right to

Clean Water’s ballot initiative and as applied to the League of Women Voters’s and

LULAC’s non-citizen members who gather signed initiative petitions. Likewise, the

Supervisors of Elections are enjoined from invalidating petitions submitted by non-

residents on behalf of FDH, Smart & Safe, and Right to Clean Water, and from

invalidating initiative petitions submitted by non-citizens on behalf of Right to Clean

Water and as applied to the League of Women Voters’s and LULAC’s non-citizen

members who gather signed initiative petitions. Finally, the Attorney General and

State Attorneys are enjoined from seeking civil or criminal penalties to enforce the

prohibition on non-residents and non-citizens collecting signed petitions as applied

to FDH, Right to Clean Water, Melissa Martin, the League of Women Voters, and

LULAC. 21

       Accordingly,

       IT IS ORDERED:

1. Plaintiff Smart & Safe Florida’s motion for preliminary injunction, ECF No. 165,

   is GRANTED.




       21
          Smart & Safe did not sue any state attorneys, and thus, is not entitled to an injunction
prohibiting their criminal enforcement of the registration requirement to the extent it incorporates
the residency requirement for petition circulation. Nonetheless, inasmuch as the relief Smart &
Safe is entitled to affords Smart & Safe partial redress, Smart & Safe still has standing to seek
preliminary injunctive relief against the Secretary, Attorney General, and Supervisors of Elections.
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2. Defendant Byrd, Defendant Uthmeier, and Defendant Supervisors of Elections

   must take no steps to enforce sections 100.371(4)(b)3., 100.3714(c)8.,

   100.3714(g), 100.371(11), 100.371(14)(h), 104.187, and 104.188(2), Florida

   Statutes (2025), against Smart & Safe Florida and non-residents who gather

   signed petitions on Smart & Safe Florida’s behalf. This Order binds these

   Defendants and their officers, agents, servants, employees, attorneys, and

   successors in and office—and others in active concert or participation with any

   of them—who receive actual notice of this injunction by personal service or

   otherwise.22

3. Plaintiff FDH’s second motion for preliminary injunction, ECF No. 169, is

   GRANTED in part with respect to FDH’s First Amendment challenge to the

   residency requirement. The balance of the motion is DENIED.

4. Defendant Byrd, Defendant Uthmeier, Defendant Supervisors of Elections and

   Defendant State Attorneys must take no steps to enforce sections

   100.371(4)(b)3., 100.3714(c)8., 100.3714(g), 100.371(11), 100.371(14)(h),

   104.187, and 104.188(2), Florida Statutes (2025), against Florida Decides

   Healthcare, Inc., and non-residents who gather signed petitions on Florida

   Decides Healthcare, Inc.’s behalf. This Order binds these Defendants and their


       22
           Inasmuch as Smart & Safe Florida has not sued any state attorneys, this injunction does
not include the state attorneys with respect to their authority to enforce §§ 104.187 and 104.188(2),
Fla. Stat.
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   officers, agents, servants, employees, attorneys, and successors in and office—

   and others in active concert or participation with any of them—who receive

   actual notice of this injunction by personal service or otherwise.

5. Right to Clean Water and Melissa Martin’s motion for preliminary injunction,

   ECF No. 173, is GRANTED in part with respect to Plaintiffs’ First Amendment

   challenge to the residency and citizenship requirements. The balance of the

   motion is DENIED.

6. Defendant Byrd, Defendant Uthmeier, Defendant Supervisors of Elections, and

   Defendant State Attorneys must take no steps to enforce sections

   100.371(4)(b)2.–3.,       100.3714(c)7.–8.,         100.3714(g),       100.371(11),

   100.371(14)(h), 104.187, and 104.188(2), Florida Statutes (2025), against

   FloridaRighttoCleanWater.org a/k/a Florida Right to Clean Water, Melissa

   Martin, and non-citizens and non-residents who gather signed petitions on Right

   to Clean Water’s behalf. This Order binds these Defendants and their officers,

   agents, servants, employees, attorneys, and successors in and office—and others

   in active concert or participation with any of them—who receive actual notice of

   this injunction by personal service or otherwise.

7. The League of Women Voters Plaintiffs’ motion for preliminary injunction, ECF

   No. 175, is GRANTED in part with respect to the League’s and LULAC’s First




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   Amendment challenge to the citizenship requirements. The balance of the motion

   is DENIED.

8. Defendant Byrd, Defendant Uthmeier, Defendant Supervisors of Elections, and

   Defendant State Attorneys must take no steps to enforce sections

   100.371(4)(b)2., 100.3714(c)7., 100.371(11), 100.371(14)(h), 104.187, and

   104.188(2), Florida Statutes (2025), as applied to the League of Women Voters,

   the League of United Latin American Citizens, and either organization’s non-

   citizen members who gather signed initiative petitions. This Order binds these

   Defendants and their officers, agents, servants, employees, attorneys, and

   successors in and office—and others in active concert or participation with any

   of them—who receive actual notice of this injunction by personal service or

  otherwise.

9. The Poder Latinx Plaintiffs’ notice of joinder, ECF No. 214, construed as a

  motion for preliminary injunction, is DENIED for lack of standing.

  SO ORDERED on July 8, 2025.

                                            s/Mark E. Walker             ____
                                            United States District Judge




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